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                        Attorneys for Defendant
                   11   VNGR BEVERAGE, LLC d/b/a POPPI

                   12                           UNITED STATES DISTRICT COURT

                   13                         NORTHERN DISTRICT OF CALIFORNIA

                   14
                                                                   Case No. 4:24-cv-03229-HSG
                   15   In re VNGR BEVERAGE, LLC                   CLASS ACTION
                        LITIGATION                                 JOINT STIPULATION TO STAY
                   16                                              PROCEEDINGS;ORDER
                   17

                   18   This Document Relates to:
                        Case No. 4:24-cv-03612-HSG                 Dept:     Courtroom 2
                   19   Case No. 4:24-cv-06666-HSG                 Judge:    Judge Haywood S. Gilliam, Jr.

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COOLEY LLP
ATTORNEYS AT LAW
   SAN DIEGO
                                                                                     JOINT STIPULATION AND ORDER
                                                                                      CASE NO. 4:24-CV-03229-HSG
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                    1          Pursuant to Civil Local Rule 7-12, Plaintiffs Kristin Cobbs, Carol Lesh, Sarah Coleman,

                    2   and Megan Wheeler (“Plaintiffs”) and Defendant VNGR Beverage, LLC d/b/a Poppi (“Defendant”

                    3   or “Poppi,” and together with “Plaintiffs,” the “Parties”) hereby jointly stipulate and agree as

                    4   follows:

                    5                1. WHEREAS, the above consolidated action, In re VNGR Beverage, LLC Litigation,

                    6   Case No. 4:24-cv-03229-HSG (ECF No. 1, the “Consolidated Action”) is presently pending before

                    7   the Court;

                    8                2. WHEREAS, on August 20, 2024, Plaintiffs filed a Second Amended Consolidated

                    9   Complaint (“SAC”) (ECF No. 35);

                   10                3. WHEREAS, on September 23, 2024, Poppi filed its Motion to Dismiss the SAC,

                   11   which was initially scheduled for a hearing before this Court on December 5, 2024 at 2:00 p.m.

                   12   (ECF No. 37);

                   13                4. WHEREAS, on October 21, 2024, the Court granted the Parties’ Joint Stipulation

                   14   to Continue the Motion to Dismiss Hearing to December 19, 2024 at 2:00 p.m. (ECF No. 42);

                   15                5. WHEREAS, on December 4, 2024, the Parties attended a private mediation with the

                   16   Honorable Judge Jay C. Gandhi (Ret.) and subsequently have continued to discuss a potential

                   17   resolution of the Consolidated Action;

                   18                6. WHEREAS, on December 6, 2024, the Court vacated the December 19, 2024

                   19   hearing (ECF No. 47); and

                   20                7. WHEREAS, the Parties have reached a resolution in principle and agree that a stay

                   21   of sixty (60) calendar days would provide the Parties with additional time to finalize and execute a

                   22   formal class settlement agreement, as well as preserve judicial resources given Defendants’ pending

                   23   Motion to Dismiss.

                   24                NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the Parties

                   25   hereto, through their undersigned counsel, as follows:

                   26                1. The Consolidated Action is stayed for sixty (60) calendar days.

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                                                                                               JOINT STIPULATION AND ORDER
   SAN DIEGO                                                             1                      CASE NO. 4:24-CV-03229-HSG
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                    1              2. This Stipulation shall not preclude or prevent the Parties from stipulating to, or

                    2   moving for, a court order lifting, modifying or extending the terms of this Stipulation upon a

                    3   showing of good cause.

                    4              3. The Parties are not waiving any rights, claims, or defenses of any kind except as

                    5   expressly stated herein, and the Parties reserve the right to seek relief from the stay as circumstances

                    6   may warrant, subject to the Court’s approval.

                    7   Dated: December 13, 2024                       COOLEY LLP
                    8
                                                                       /s/ Michelle C. Doolin
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                   18                                                  Attorneys for Defendant
                                                                       VNGR BEVERAGE, LLC d/b/a POPPI
                   19
                        Dated: December 13, 2024                       BURSOR & FISHER, P.A.
                   20

                   21                                                  /s/ L. Timothy Fisher
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                                                                                      JOINT STIPULATION AND [PROPOSED] ORDER
   SAN DIEGO                                                               2                      CASE NO. 4:24-CV-03229-HSG
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                    1                           ATTESTION OF CONCURRENCE IN FILING

                    2          Pursuant to the United States District Court for the Northern District of California, Civil

                    3   L.R. 5-1(i), I, Michelle C. Doolin, hereby attests that the concurrence to the filing of the foregoing

                    4   document has been obtained from the signatories.

                    5   Dated: December 13, 2024                      COOLEY LLP
                    6
                                                                      /s/ Michelle C. Doolin
                    7                                                 MICHELLE C. DOOLIN (179445)
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                                                                                                JOINT STIPULATION AND ORDER
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                    1                                                ORDER

                    2          PURSUANT TO STIPULATION, IT IS SO ORDERED. The Court, having considered the

                    3   parties’ Joint Stipulation to Stay Proceedings, pursuant to Civil Local Rule 7-12, the Court hereby

                    4   grants a stay of sixty (60) calendar days of this Consolidated Action.

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                    6   Dated: 12/16/2024                                    By:
                                                                                   Judge Haywood S. Gilliam, Jr.
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COOLEY LLP
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                                                                                                 JOINT STIPULATION AND ORDER
   SAN DIEGO                                                             4                        CASE NO. 4:24-CV-03229-HSG
